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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

APOLLO SAMPLE and SHELBY                                     §
SAMPLE,                                                      §
                                                             §
                Plaintiffs,                                  §
vs.                                                          § Civil Action No. 3:21-CV-3032-X-BH
                                                             §
MIDLAND MORTGAGE CO.,                                        §
                                                             §
                Defendant.                                   § Referred to U.S. Magistrate Judge1

                                                        ORDER

       Based on the Joint Stipulation of Dismissal, filed July 13, 2022 (doc. 26), the Defendant’s

Motion for Summary Judgment, filed June 21, 2022 (doc. 18), is DEEMED MOOT. The Clerk of

Court shall terminate this action based on the joint stipulation.

       SO ORDERED on this 14th day of July, 2022.



                                                                   ___________________________________
                                                                   IRMA CARRILLO RAMIREZ
                                                                   UNITED STATES MAGISTRATE JUDGE




       1
        By Special Order No. 3-251, this case has been automatically referred for full case management.
